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    So Ordered.

    Signed this 8 day of May, 2019.



                                                 ________________________________

                                                Margaret Cangilos-Ruiz
                                                United States Bankruptcy Judge




UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF NEW YORK
                                                                            )
In re:                                                                      )
                                                                            )   Case Nos.
CENTERSTONE LINEN SERVICES, LLC,                                            )   18-31754 (main case)
ATLAS HEALTH CARE LINEN SERVICES CO., LLC,                                  )   18-31753
ALLIANCE LAUNDRY & TEXTILE SERVICE, LLC,                                    )   18-31755
ALLIANCE LAUNDRY AND TEXTILE SERVICE OF                                     )   18-31756
ATLANTA, LLC, and                                                           )
ALLIANCE LTS WINCHESTER, LLC                                                )   18-31757
d/b/a Clarus Linen Systems1,                                                )
                                                                            )   Chapter 11 Cases
                                                     Debtors.               )   Jointly Administered
                                                                            )
                                                                            )


                     ORDER ADJOURNING HEARING TO APPROVE
                  SALE OF NORTHERN ASSETS TO SUCCESSFUL BIDDER
                    AND ADJOURNING RELATED MOTION HEARINGS




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Centerstone Linen Services, LLC d/b/a Clarus Linen Systems (5594) (“Centerstone”); Atlas Health
Care Linen Services Co., LLC d/b/a Clarus Linen Systems (2681) (“Atlas”); Alliance Laundry & Textile Service,
LLC d/b/a Clarus Linen Systems (8284) (“Alliance”); Alliance Laundry and Textile Service of Atlanta, LLC d/b/a
Clarus Linen Systems (4065) (“Atlanta”); and Alliance LTS Winchester, LLC d/b/a Clarus Linen Systems (0892)
(“Winchester”).

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         Upon consideration of the motion (the “Motion”)2 filed by debtors Centerstone Linen

Services, LLC d/b/a Clarus Linen Systems (“Centerstone”) and Atlas Health Care Linen Services

Co., LLC, d/b/a Clarus Linen Systems (“Atlas”), debtors and debtors in possession (collectively,

the “Debtors”) in the captioned cases, for entry of an order pursuant to sections 105 and 363 of

title 11 of the United States Code (the “Bankruptcy Code”) and Bankruptcy Rule 6004: (A)(i)

authorizing the sale of substantially all of the Debtors’ assets (the “Purchased Assets”), free and

clear of all liens, claims, interests and encumbrances, subject to the terms of an Asset Purchase

Agreement and subject to higher and/or better offers; and the Court having entered an Order

Pursuant to Sections 363 and 105 of the Bankruptcy Code: (A)(1) Setting Deadline and

Approving Requirements and Procedures for interested Parties to Submit Competing Bids for

Substantially All Assets of Debtors Centerstone Linen Services, LLC d/b/a Clarus Linen Systems

and Atlas Health Care Linen Services Co., LLC, d/b/a Clarus Linen Systems; (2) Approving

Form of Purchase Agreement; (3) Scheduling an Auction; (4) Setting Hearing Date to Approve

Sale of Assets to Successful Bidder; and (5) Approving Procedures With Respect to the

Assumption and Assignment of Certain Executory Contracts and Unexpired Leases; and (B)

Approving Form and Manner of Notice on March 20, 2019 [Dkt. No. 299] (the “Bidding

Procedures Order”); and certain objections with respect to the Debtors’ proposed assumption and

assignment of executory contracts and unexpired leases having been filed, including, without

limitation, the objection of Catholic Health System, Inc., Mercy Hospital of Buffalo, Sisters of

Charity Hospital of Buffalo, New York, Kenmore Mercy Hospital and Mount St. Mary’s

Hospital of Niagara Falls [Dkt. Nos. 328 and 332] (collectively, the “CHS Objection”); and the

Court having entered an Order amending the Bid Deadline, Auction date, Sale Hearing date, and

2
  Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion, Purchase
Agreement and/or the Bidding Procedures Order as amended, as applicable.


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other dates set forth in the Bidding Procedures Order on April 11, 2019 [Dkt. No. 349]; and the

Court having entered Text Orders further amending the Bid Deadline, Auction date and Sale

Objection date on April 12 and 26, 2019 [Dkt. Nos. 354 and 376]; and the Debtors having

received a bid from Clean Textile Systems, L.P. (“Clean Textile”) for the Buffalo Assets only;

and the Court having convened a Status Conference on May 7, 2019 concerning the proposed

sale of the Purchased Assets and several pending motions; and the Debtors having requested

additional time to review and respond to the bid submitted by Clean Textile and an adjournment

of the Sale Hearing; and upon due deliberation of the Court and good cause therefor, it is hereby

       ORDERED, that the Bidding Procedures Order is further amended and the Sale Hearing

is adjourned from 11:00 a.m. on May 8, 2019 until 11:00 a.m. on May 22, 2019 in Syracuse,

New York; and it is further

       ORDERED, that the Debtors shall have until May 17, 2019 to execute a final Asset

Purchase Agreement with Clean Textile, acceptable to HSBC Bank and the Committee, for the

purchase of the Buffalo Assets (the “Final APA”); and it is further

       ORDERED, that the hearings to consider the objections filed with respect to the

proposed sale of the Purchased Assets are adjourned from 11:00 a.m. on May 8, 2019 until 11:00

a.m. on May 22, 2019; and it is further

       ORDERED, that any additional objections to the proposed sale of the Buffalo Assets

shall be filed with the Court no later than 12:00 p.m. on May 21, 2019; and it is further

       ORDERED, that the Debtors shall file with the Court a Sale Report concerning proposed

sale of the Buffalo Assets no later than 12:00 p.m. on May 20, 2019; and it is further

       ORDERED, that the hearings to consider the objections filed or deemed filed with

respect to the Debtors’ proposed assumption and assignment of executory contracts and



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unexpired leases, including, without limitation, the CHS Objection, and all objections filed or

deemed filed with respect to cure amounts, are adjourned from 11:00 a.m. on May 8, 2019 until

11:00 a.m. on May 22, 2019; and it is further

       ORDERED, that the hearings to consider the Motions filed by (i) Altus Management,

LLC [Dkt. No. 216], (ii) Mount St. Mary’s Hospital of Niagara Falls [Dkt. No. 219]; (iii) the

Catholic Health System and its affiliates [Dkt. No. 220], and (iv) Kaleida Health, Erie County

Medical Center, Eastern Niagara Health Center and Niagara Falls Memorial Medical Center

[Dkt. No. 225] seeking orders directing the Debtors to reject certain executory contracts

(collectively, the “Buffalo Hospital Motions”) are adjourned from 11:00 a.m. on May 8, 2019

until 11:00 a.m. on May 22, 2019; and it is further

       ORDERED, that the evidentiary hearing with respect to the Buffalo Hospital Motions,

and with respect to the objections filed or deemed filed with respect to the Debtors’ proposed

assumption and assignment of executory contracts and unexpired leases, including, without

limitation, the CHS Objection, and with respect to the objections filed or deemed filed with

respect to cure amounts, currently scheduled to be held at 10:00 a.m. on May 9, 2019 [Dkt. No.

354], shall be adjourned indefinitely, pending further order of this Court; and it is further

       ORDERED, that the Buffalo Hospital Motions shall be deemed to be objections that

were timely filed by those moving parties with respect to the Debtors’ proposed assumption and

assignment of executory contracts and unexpired leases, and with respect to the Debtors’

proposed cure amounts, subject to such amendment as shall be appropriate in the discretion of

said moving parties in the event that any evidentiary hearing on assumption or rejection goes

forward; and it is further




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       ORDERED, that the hearing to consider the Motion filed by landlord ACN Companies,

LLC seeking to compel the Debtors to comply with post-petition obligations due under a lease of

real property [Dkt. No. 85] shall be adjourned until 11:00 a.m. on May 22, 2019; and it is further

       ORDERED, that in the event the Debtors do not execute a Final APA with Clean Textile

by May 17, 2019, the Debtors shall notify the Court and may request further amendments of

dates set forth in the Bidding Procedures Order as amended, as appropriate; and it is further

       ORDERED, that the Court shall retain jurisdiction concerning all matters arising in

connection with the implementation of this Order.

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